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 6                 IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                           IN AND FOR THE COUNTY OF SNOHOMISH
 7

 8
       PACIFIC PLAZA LLC, a Washington Limited              No. 22-2-05428-31
 9     Liability Company;
                                                        FIRST AMENDED COMPLAINT
10                             Plaintiff,
11                    v.
       LANDMARK AMERICAN INSURANCE
12
       COMPANY, a foreign insurer; IRONSHORE
       SPECIALTY INSURANCE COMPANY, a
13
       foreign insurer; STEADFAST INSURANCE
14     COMPANY, a foreign insurer; FALLS LAKE
       FIRE AND CASUALTY COMPANY, a
15     foreign       insurer;    COMMERCIAL
       INDUSTRIAL         BUILDING    OWNERS
16     ALLIANCE, INC., a foreign corporation; and
       CLAIMS ADJUSTING GROUP, INC. a
17     foreign corporation;

18                             Defendants.

19
            Plaintiff, Pacific Plaza LLC, submits the following Complaint for Declaratory Relief
20
     against the Defendants.
21
                                             I.    PARTIES
22
            1.1    Plaintiff, Pacific Plaza LLC (Pacific Plaza), is a Limited Liability Company
23
     organized under the laws of the state of Washington.
24

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 1            1.2    Defendant Landmark American Insurance Company (Landmark) is a foreign

 2   insurer organized under the laws of the state of Georgia doing business in Washington State.

 3            1.3    Defendant Ironshore Specialty Insurance Company (Ironshore) is a foreign insurer

 4   organized under the laws of the state of California doing business in Washington State.

 5            1.4    Defendant Steadfast Insurance Company (Steadfast) is a foreign insurer organized

 6   under the laws of the state of Delaware doing business in Washington State.

 7            1.5     Defendant Falls Lake Fire and Casualty Company (Falls Lake) is a foreign insurer

 8   organized under the laws of the state of California doing business in Washington State.

 9            1.6    Defendant Commercial Industrial Building Owner’s Alliance, Inc. (CIBA) is a

10   foreign corporation organized under the laws the state of California doing business in Washington

11   State.

12            1.7    Defendant Claims Adjusting Group, Inc. (CAG), is a foreign corporation organized

13   under the laws of the state of California doing business in Washington State.

14                                II.    JURISDICTION AND VENUE

15            2.1    Plaintiff reasserts paragraphs 1.1 through 1.7 and incorporates the same as though

16   fully set forth herein.

17            2.2    All acts and omissions of the Defendants herein complained of occurred within

18   Snohomish County, Washington. The subject policy was also issued in Washington State.

19            2.3    This Court has personal jurisdiction over Landmark pursuant to RCW 4.28.185.

20            2.4    This Court has personal jurisdiction over Ironshore pursuant to RCW 4.28.185.

21            2.5    This Court has personal jurisdiction over Steadfast pursuant to RCW 4.28.185.

22            2.6    This Court has personal jurisdiction over Falls Lake pursuant to RCW 4.28.185.

23            2.7    This Court has personal jurisdiction over CIBA pursuant to RCW 4.28.185.

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 1           2.8     This Court has personal jurisdiction over CAG pursuant to RCW 4.28.185.

 2           2.9     This Court has jurisdiction over all parties and over the subject matter of this

 3   complaint.

 4           2.10    Venue is proper in Snohomish County, Washington, pursuant to RCW 4.12.020.

 5                                  III.   FACTUAL BACKGROUND

 6   A.      Subject Property

 7           3.1     Plaintiff reasserts paragraph 1.1 through 2.10 and incorporates the same as though

 8   fully set forth herein.

 9           3.2     The building that is the subject of this lawsuit is an L-shaped plaza located at 22315

10   Highway 99, Edmonds, WA 98026 (the “Subject Property”). The Subject Property leased office

11   spaces to fourteen businesses.

12           3.3     On September 11, 2021, the Subject Property was completely destroyed by a three-

13   alarm fire.

14           3.4     Due to the severity of the fire and despite more than seventy firefighters on scene

15   attempting to put out the blaze, all businesses in the Subject Property were significantly damaged

16   by smoke, fire, or water.

17           3.5     As a result of the fire, the Subject Property and businesses cannot be occupied and

18   are not rentable until repairs are concluded.

19           3.6     The Subject Property was previously owned by Capstone Commercial Real Estate

20   Advisors, LLC (Capstone).

21           3.7     On September 15, 2021, Capstone filed a claim with Falls Lake Fire and Casualty

22   Company, Claim No. IP20-030 (the “Capstone Claim”).

23           3.8     The subject insurers investigated the claim and concluded the loss was covered

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 1   under the subject policies.

 2           3.9     On January 14, 2022, Plaintiff purchased the Subject Property from Capstone

 3   through a Purchase and Sale Agreement. The right to benefits associated with the Capstone Claim

 4   were also transferred to the Plaintiff. The insurers in this case agreed to and approved this

 5   assignment.

 6   B.      Insurance Coverage for Subject Property

 7           3.10    Plaintiff reasserts paragraphs 1.1 through 3.9 and incorporates the same as though

 8   fully set forth herein.

 9           3.11    The CIBA Insurance Program provides property insurance through a risk pool.

10           3.12    Falls Lake is an insurer within the CIBA Insurance Program. Specifically, Falls

11   Lake is the primary insurer for the Subject Property.

12           3.13    Landmark, Ironshore, and Steadfast (collectively, the “Underwriters”) are also

13   insurers within the CIBA Insurance Program. Specifically, the Underwriters are the first-tier

14   excess insurers for the Subject Property.

15           3.14    Within the CIBA Insurance Program in regard to the Subject Property, CAG is the

16   assigned claims adjustor on behalf of Falls Lake and the Underwriters.

17           3.15    CIBA is not an insurance company and does not provide or issues policies of

18   insurance. Insurance coverage provided by the CIBA Insurance Program is provided solely by the

19   carriers identified in the Schedule of Participating Insurance Companies and not by CIBA.

20           3.16    Pursuant to the Schedule of Participating Insurance Companies, Falls Lake and the

21   Underwriters are participating insurance companies under the CIBA Insurance Program.

22           3.17    On or before March 31, 2020, Capstone maintained an insurance policy through

23   CIBA with Falls Lake Fire and Casualty Company, Policy No. CIBA-000001-01, which was in

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 1   effect from March 31, 2020, to March 31, 2021 (the “Falls Lake Policy”). The Falls Lake Policy

 2   limit of liability is $4,000,000.00 regarding the Subject Property.

 3           3.18    The Falls Lake Policy provided coverage including, but not limited to, (1) real

 4   property coverage, (2) business personal property coverage, (3) loss of income coverage, (4)

 5   emergency vacating expense coverage, (5) arson reward coverage, and (6) business personal

 6   property while off premises or in transit coverage.

 7           3.19    On February 15, 2022, CAG sent Capstone a letter which provided written

 8   confirmation of the Underwriters’ consent to the assignment of benefits associated with the

 9   Capstone Claim to the Plaintiff.

10   C.      Defendants’ Claims Handling

11           3.20    Plaintiff reasserts paragraphs 1.1 through 3.19 and incorporates the same as though

12   fully set forth herein.

13           3.21    On September 15, 2021, the Capstone Claim was filed with Falls Lake regarding

14   the Subject Property.

15           3.22    Defendants retained J.S. Held to provide an estimate of the building repair costs

16   associated with the Subject Property. J.S. Held is not a licensed construction company in

17   Washington State.

18           3.23    J.S. Held performed three inspections of the Subject Property and provided three

19   separate appraisal estimates.

20           3.24    Plaintiff retained McBride Construction Resources, Inc. (McBride) and BELFOR

21   Property Restoration (BELFOR) to provide estimates of the building repair costs associated with

22   the Subject property. McBride and BELFOR are both nationally recognized construction firms

23   which are licensed contractors in Washington State and regularly perform construction repairs

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 1   involving fire losses.

 2          3.25    The October 26, 2021, J.S. Held appraisal report of the Subject Property provided

 3   an estimate of $1,361,351.44.

 4          3.26    The January 26, 2022, McBride estimate report of the Subject Property provided

 5   an estimate of $4,641,147.79.

 6          3.27    The February 25, 2022, BELFOR appraisal report of the Subject Property provided

 7   an estimate of $5,302,234.84.

 8          3.28    Thereafter, on March 2, 2022, J.S. Held issued a revised estimate report of the

 9          Subject Property in the amount of $1,877,218.22.

10          3.29    Finally, on May 18, 2022, J.S. Held issued a second supplemental estimate of the

11   Subject Property in the amount of $2,785,142.80.

12          3.30    The difference between the J.S. Held May 2022 estimate and the BELFOR estimate

13   is $2,517,092.04. The difference between the J.S. Held May 2022 estimate and the McBride

14   estimate is $1,856,009.99.

15          3.31    Due to the Defendants’ delay in bringing the $2,517,092.04 gap between the J.S.

16   Held May 2022 estimate and BELFOR estimate significantly closer together, Plaintiff has been

17   unable to begin repairs on the Subject Property.

18          3.32    Without being able to begin repairs and given the existing damage to the Subject

19   Property, Plaintiff remains unable to lease office spaces in the Subject Property to tenants. As a

20   result, Plaintiff is unable to generate income and consequential damages continue to increase.

21          3.33    On April 29, 2022, pursuant to RCW 48.30.015, Plaintiff placed Falls Lake on

22   notice that they are being provided 20 days to cure its unreasonable denial and resolve all

23   remaining issues under the Capstone Claim. Plaintiff further advised CAG that if the remaining

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 1   issues under the Capstone Claim are not resolved within the 20 days, Plaintiff will proceed with

 2   having the final damage determination value be set through an appraisal process, pursuant to the

 3   terms and conditions of the Falls Lake Policy.

 4           3.34      On August 3, 2022, Plaintiff sent CAG a demand letter attempting to clarify the

 5   issues regarding (1) differences in appraisal estimates, (2) business income claim, (3) outstanding

 6   invoices from Reid Consolidated Services (RCS), (4) dry rot issues, and (5) bad faith damages.

 7   Plaintiff offered to resolve all claims in the amount of $3,091,783.91.

 8           3.35      On August 18, 2022, Plaintiff sent CAG a second demand letter attempting to settle

 9   all remaining issues. Plaintiff offered to resolve all extracontractual claims for (1) payment of the

10   remaining policy limits under the Falls Lake Policy, (2) payment of an additional twelve months

11   of business interruption coverage in the amount of $456,000, and (3) payment of Plaintiff’s

12   attorneys fees.

13           3.36      To date, CAG has paid only $3,061,885.35 in property damage and rental income.

14   This amount does not include the cost of repairs estimated by Plaintiff’s contractors.

15           3.37      To date, Defendants have made no attempt or offer to engage in meaningful

16   settlement negotiations to resolve outstanding claims associated with payment of benefits under

17   the Falls Lake Policy.

18                                       IV.     CAUSES OF ACTION

19   A.      Breach of Contract

20           4.1       Plaintiff reasserts paragraph 1.1 through 3.37 and incorporates the same as though

21   fully set forth herein.

22           4.2       Defendants had a contractual duty to their insureds under the Falls Lake Policy.

23           4.3       Defendants also had a duty to the Plaintiff to act reasonably and in good faith in the

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 1   investigation and adjustment of claims, pursuant to the terms of the insurance contracts between

 2   the parties and the implied covenant of good faith and fair dealing.

 3            4.4    Defendants breached the Falls Lake Policy and the implied duty of good faith and

 4   fair dealing by failing to pay benefits which the Plaintiff is entitled to receive. Pursuant to the Falls

 5   Lake Policy, the Plaintiff is entitled to receive payment for the remaining policy limits.

 6            4.5    Defendants also breached the contract of insurance by selecting J.S. Held, an

 7   unlicensed construction company, to provide appraisal estimates as to the repair costs associated

 8   with the Subject Property.

 9            4.6    As a direct and proximate cause of the breaches of contract set forth above, the

10   Plaintiff has sustained consequential damages due to the delays in payments associated with this

11   claim.

12            4.7    As a result of Defendants’ breach of the Falls Lake Policy, Plaintiff is entitled to

13   damages for the remaining policy limits.

14   B.       Violation of the Consumer Protection Act (CPA)

15            4.8    Plaintiff reasserts paragraphs 1.1 to 4.7 and incorporates the same as though fully

16   set forth herein.

17            4.9    Defendants’ unreasonable and repeated delays in revising the structure costs

18   resulted in the Plaintiff not receiving the payments for benefits which Plaintiff is entitled to receive.

19            4.10   Defendants received the McBride estimate in January 2022 and the BELFOR

20   estimate in February 2022. Despite having two credible appraisal estimates from reputable

21   Washington contractors, Defendants’ expert, J.S. Held, inspected the Subject Property again in

22   March and May of 2022. Even with J.S. Held’s increased May 2022 estimate, a $2.5 million gap

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 1   remained when compared to the BELFOR estimates which ultimately resulted in further delay to

 2   Plaintiff being able to perform repairs.

 3           4.11   As a result of Defendants’ delays, Plaintiff was unable to repair the Subject

 4   Property and has suffered a loss of income. Plaintiff remains unable to rent offices in the Subject

 5   Property to tenants which directly affects Plaintiff’s ability to generate income and is the reason

 6   consequential damages continue to increase.

 7           4.12   Defendants’ conduct is unreasonable and constitutes unfair acts and deceptive

 8   practices under RCW 19.86 et al.

 9           4.13   Defendants’ acts and omissions constitute multiple violations of insurance

10   regulatory provisions of the Washington Administrative Code (WAC), including, but not limited

11   to:

12           a.     refusing to act in good faith to effectuate prompt, fair and equitable settlement of

13                  claims in which liability has become reasonably clear in violation of WAC 284-30-

14                  330(6); and

15           b.     compelling Plaintiff, a first party claimant, to initiate this litigation to recover

16                  amounts due under an insurance policy by offering substantially less than the

17                  amounts ultimately recovered in such actions or proceedings in violation of WAC

18                  284-30-330(7).

19           4.14   Defendants failed to engage in meaningful settlement negotiations with Plaintiff

20   despite Plaintiff providing two reasonable settlement offers on August 3, 2022, and August 18,

21   2022.

22           4.15   Defendants fail to consider the economic impact the delays in the payment of

23   benefits under the Falls Lake Policy have on the overall costs associated with repairs. Specifically,

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 1   inflation rates and construction costs have gone up significantly in the last seven months.

 2           4.16    As a result of the Defendants’ violation of the CPA, Plaintiff is entitled to receive

 3   (1) payment for twelve additional months of business interruption coverage, (2) unpaid invoices

 4   from RCS, (3) punitive damages, and (4) attorney fees.

 5   C.      Bad Faith

 6           4.17    Plaintiff reasserts paragraph 1.1 to 4.16 and incorporates the same as though fully

 7   set forth herein.

 8           4.18    Defendants had a duty to act in good faith regarding the investigation and

 9   adjustment of claims.

10           4.19    Defendants failed to act in good faith and deal fairly with Plaintiff by repeatedly

11   delaying the adjustment of the claims associated with the Subject Property.

12           4.20    At this time, more than eleven months have elapsed since the September 11, 2021

13   subject loss. Defendants have still not paid the full amount of repair costs to the Plaintiff making

14   it impossible for the Plaintiff to conclude repairs within twelve months from the date of loss as

15   required by the Policy.

16           4.21    As a direct result of the Defendants’ unreasonable delays in the adjustment of

17   claims and failing to pay the benefits Plaintiff is entitled to, Defendants acted in bad faith.

18           4.22    Plaintiff is entitled to consequential damages for the Defendants’ acts of bad faith.

19   D.      Violation of Insurance Fair Conduct Act (IFCA)

20           4.23    The Plaintiff reasserts paragraphs 1.1 to 4.22 and incorporate the same as though

21   fully set forth herein.

22           4.24    Pursuant to RCW 48.30.015, any first party claimant to a policy of insurance who

23   is unreasonably denied a claim for coverage or payment of benefits by an insurer may bring an

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 1   action in the superior court of this state to recover the actual damages sustained, together with the

 2   costs of the action, including reasonable attorneys’ fees and litigation costs.

 3             4.25   IFCA explicitly creates a cause of action for first party insureds who were

 4   “unreasonably denied a claim for coverage or payment of benefits.” IFCA was not meant to create

 5   a cause of action for regulatory violations. See Perez-Crisantos v. State Farm, 187 Wn.2d 669

 6   (2017).

 7             4.26   Defendants unreasonably denied the Plaintiff’s claim for payment of benefits under

 8   the Policy. Specifically, the Defendants failed to pay the remainder of the Policy limits in which

 9   the Plaintiff is entitled to receive and continued to delay a resolution of this claim. The BELFOR

10   estimate from February 2022 is approximately $1,300,000 over the policy limit and the McBride

11   estimate from January 2022 is approximately $600,000 over the policy limit. Regardless of

12   whether the McBride or BELFOR appraisal estimates are used, McBride and BELFOR are the

13   only licensed contractors who provided legitimate estimates and the Plaintiff is entitled to the

14   remaining policy limits.

15             4.27   Defendants have failed to reimburse the Plaintiff for the actual amounts provided

16   in either the McBride or BELFOR estimates.

17             4.28   Plaintiff provided Defendants with notice regarding a potential IFCA claim on

18   April 29, 2022. Defendants failed to resolve all issues regarding the payment of benefits under the

19   Policy within the twenty (20) day period pursuant to RCW 48.30.015(8).

20             4.29   As a result of the Defendants’ violation of the IFCA, the Plaintiff is entitled to

21   receive (1) actual damages in the amount of the remaining policy limits and (2) reasonable

22   attorneys’ fees and litigation costs incurred in prosecuting this action against the Defendants.

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 1                                   V.      PRAYER FOR RELIEF

 2           Plaintiff, having alleged the foregoing, does now hereby pray for relief as follows:

 3           1.     For trebling of actual damages caused by Defendants and attorney fees pursuant to

 4   IFCA.

 5           2.     For trebling of actual damages caused by Defendants and attorney fees pursuant to

 6   the CPA.

 7           3.     For all interest allowed by law.

 8           4.     For attorney fees and costs allowed by statute and law.

 9           5.     For other and further relief as the Court deems just and equitable.

10           DATED this 3rd day of October 2022.

11                                                 LETHER LAW GROUP

12
                                                   /s/ Thomas Lether                       _
13                                                 /s/ Ryan Bisel                          _
                                                   Thomas Lether, WSBA #18089
14                                                 Ryan Bisel, WSBA #58634
                                                   1848 Westlake Ave N., Suite 100
15                                                 Seattle, WA 98109
                                                   P: 206-467-5444 F: 206-467-5544
16                                                 tlether@letherlaw.com
                                                   rbisel@letherlaw.com
17                                                 Attorneys for Plaintiff Pacific Plaza LLC

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 1
                                     CERTIFICATE OF SERVICE
 2
     The undersigned hereby certify under the penalty of perjury under the laws of the United States of
 3   America that on this date I caused to be served in the manner noted below a true and correct copy
     of the foregoing on the following parties:
 4

 5    John M. Silk, WSBA #15035
      Sarah L. Eversole, WSBA #36335
 6    WILSON SMITH COCHRAN DICKERSON
      1000 Second Ave., Suite 2050
 7    Seattle, WA 98104
      206-623-4100
 8    silk@wscd.com
      eversole@wscd.com
 9    Attorneys for All Defendants

10

11       By: [X] ECF

12
            Dated this 3rd day of October 2022 at Seattle, Washington.
13

14                                                          /s/_Devon Sheehan_______
                                                            Devon Sheehan | Paralegal
15

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